Case 3:23-cv-00711-KM Document 11-6 Filed 05/31/23 Page 1 of 4

EXHIBIT “F”
Case 3:23-cv-00711-KM Document 11-6 Filed 05/31/23 Page 2 of 4

 

 

 

Judge Assigned:
OTN:

Arresting Agency:
Citation No.:

Disposition:

County:
Case Status:

Case Status
Inactive

Case Calendar
Event Type
Summary Trial

Name:
Date of Birth:
Address(es):

Home

Magisterial District Judge 11-1-04

DOCKET
Docket Number: MJ-11104-NT-0000133-2019

Non-Traffic Docket

Commonwealth of Pennsylvania
V.
Douglas Bruce

 

 

Coiorado Springs, CO 80936

Participant Type
Defendant
Arresting Officer

FE
OQ
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1 LO § 110 §§ 1

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Page 1 of 3
CASE INFORMATION
Alexandra Kokura Kravitz Issue Date:
File Date: 01/25/2019
Code Enforcement, Municipal Arrest Date:
R 2456435-2 Incident No.:
Guilty Disposition Date: 05/23/2019
Luzerne Township: Pittston City
Inactive
STATUS INFORMATION
Status Date Processing Status
11/03/2022 Case Balance Due
05/23/2019 Case Balance Due
05/23/2019 Case Disposed/Penalty Imposed
05/23/2019 Awaiting Sentencing
04/10/2019 Awaiting Summary Trial
04/10/2019 Awaiting Plea
01/25/2019 Awaiting Plea
CALENDAR EVENTS
Schedule Schedule
Start Date Start Time Room Judge Name Status
05/23/2019 1:30 pm Alexandra Kokura Kravitz Scheduled
DEFENDANT INFORMATION
Bruce, Douglas Sex:
Race:
CASE PARTICIPANTS
Participant Name
Bruce, Douglas
Smith, Harry
CHARGES
Grade Description Offense Dt. Disposition

s

Demolition 01/24/2019 Guilty

 

MDJS 1200

Printed: 05/08/2023 1:50 pm

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Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)

mav be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183.

 
Case 3:23-cv-00711-KM Document 11-6 Filed 05/31/23 Page 3 of 4

 

 

Magisterial District Judge 11-1-04

DOCKET
Docket Number: MJ-11104-NT-0000133-2019

Non-Traffic Docket

Commonwealth of Pennsylvania
Vv.
Douglas Bruce

 

 

 

Page 2 of 3
DISPOSITION / SENTENCING DETAILS
Case Disposition Disposition Date Was Defendant Present?
Guilty 05/23/2019 No
Offense Seq./Description Offense Disposition
1 Demolition Guilty
“ATTORNEY INFORMATION
Private
Name: William Jennings Waitt ill, Esq.
Representing: Bruce, Douglas
Counsel Status: Active
Supreme Court No.: 206831
Phone No.: 570-654-4643
Address: Saporito Falcone & Watt
490 N Main St Ste 202
Pittston, PA 18640-2100
DOCKET ENTRY INFORMATION
Filed Date Entry Eiler Applies To
05/23/2019 Order Imposing Sentence Printed Magisterial District Court 11-1-04 Douglas Bruce, Defendant
05/23/2019 Guilty 4 Alexandra Kokura Kravitz -~=~=—=~S*S«~iS ig Bruce, Defendant =
04/22/2019  Cerlified Summary Trial Notice Accepted -—«- Magisterial District Court 11-1-04 Douglas Bruce, Defendant =
04/10/2019  Cerlified Summary Trial Notice Issued -~~*Magisterial District Court 11-1-04 DouglasBruce, Defendant. =
02/11/2019 Certified SummonsAccepted = sd Magisterial District Court 11-1-04 DouglasBruce, Defendant =
01/31/2019 "Summons Issued | ee Magisterial District Court 11-1-04 “Douglas Bruce, Defendant oo
01/34/2019 ~ First Class Summons Issued Do Magisterial District Court 41-1-04 “Douglas Bruce, Defendant _ OO
01/31/2019 ~ Certified § Summons Issued OO Magisterial District Court 11-1-04 “Douglas Bruce, Defendant —
01/26/2019 _Non-Traffic Citaion Filed SSS Magisterial Distict Gout t1-04=SSsStCSs—=<“S*é*=‘“‘<i=<“<CS;*t*é‘*;*~*”
PAYMENT PLAN SUMMARY
Payment Plan No. Payment Plan Freq. Next Due Date Active Next Due Amt. Overdue Amt.
11104-2019-P0001545 Monthly 06/24/2019 Yes $100.00 $4,700.00
Responsibie Participant
Bruce, Douglas
Payment Plan History: Payment Dt. Applied Dt. Transaction Type Payor Participant Role Amount
MDJS 1200 Page 2 of 3 , Printed: 05/08/2023 1:50 pm

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Case 3:23-cv-00711-KM Document 11-6 Filed 05/31/23 Page 4 of 4

 

 

Magisterial District Judge 11-1-04

DOCKET
Docket Number: MJ-11104-NT-0000133-2019

Non-Traffic Docket

Commonwealth of Pennsylvania
V.
Douglas Bruce

 

 

 

 

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CASE FINANCIAL INFORMATION
Case Balance: $1,091.25 Next Payment Amt:
Last Payment Amt: Next Payment Due Date:

Non-Monetary

Assessment Amt Adjustment Amt Payment Amt Payment Amt Balance
Local Ordinance $1,000.00 $0.00 $0.00 $0.00 $1,000.00
ATJ $6.00 $0.00 $0.00 $0.00 $6.00
CJES $2.50 $0.00 $0.00 $0.00 $2.50
Commonwealth Cost - HB627 (Act 167 of 1992) $9.00 $0.00 $0.00 $0.00 $9.00
County Court Cost (Act 204 of 1976) $33.00 $0.00 $0.00 $0.00 $33.00
JCPS $21.25 $0.00 $0.00 $0.00 $21.25
Judicial Computer Project $8.00 $0.00 $0.00 $0.00 $8.00
OAG - JCP $2.50 $0.00 $0.00 $0.00 $2.50
State Court Costs (Act 204 of 1976) $9.00 $0.00 $0.00 $0.00 $9.00
MDJS 1200 Page 3 of 3 Printed: 05/08/2023 1:50 pm

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